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                    UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF COLUMBIA

______________________________
                                 )
RAYMING CHANG, et al.,           )
                                 )
                 Plaintiffs,     )
                                 )       Civ. Action No. 02-2010 (EGS)
            v.                   )
                                 )
UNITED STATES, et al.,           )
                                 )
                 Defendants.     )
                                 )
                                 )
JEFFREY BARHAM, et al.,          )
                                 )
                 Plaintiffs,     )
                                 )       Civ. Action No. 02-2283 (EGS)
            v.                   )
                                 )
CHARLES RAMSEY, et al.,          )
                                 )
                 Defendants.     )
                                 )

                                 ORDER

     Pending before the Court is defendant District of Columbia’s

Motion to Pay One-Half of Judge Levie’s Mediation Services Fees

Pending Further Order of the Court.       Upon consideration of the

Motion, the record herein, and the interests of the justice, it

is hereby

     ORDERED that the District of Columbia promptly issue payment

to JAMS in the amount of $7,615.00 as payment of one-half (1/2)

of the sum reflected in the JAMS Statement of Services for Judge

Levie’s services in the mediation of these two cases.
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     When Plaintiffs’ Motions on fee allocation are fully

briefed, the Court will promptly determine the allocation of the

remaining amount due and order payment by the appropriate parties

accordingly.

     SO ORDERED.

Signed:   Emmet G. Sullivan
          United States District Judge
          June 5, 2008




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